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           EXHIBIT 1
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November 15, 2021                                                                      Sonal N. Mehta
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VIA EMAIL

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Re: John Stossel v. Facebook, Inc., et al., No. 5:21-cv-07385 (N.D. Cal.)

Dear Ms. Baughman:

       We write on behalf of Meta Platforms, Inc. (“Meta”; formerly Facebook, Inc.) regarding
the above-captioned matter. We have carefully considered your complaint asserting that fact-
check labels applied to two of Mr. Stossel’s videos constituted defamation. Our review of your
complaint raises serious concerns about the validity of your claim, some of which echo the
concerns we already raised in our pre-suit letter to Ms. Dhillon on December 22, 2020. Put
simply, no good faith basis exists to proceed with this suit.

        First, Section 230(c)(1) of the Communications Decency Act protects interactive
computer services, such as Meta, from claims that target decisions to show or restrict access to
content created by another entity. See Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1102 (9th Cir.
2009). Mr. Stossel’s defamation claim does just that. Meta’s fact-checking apparatus is
precisely the type of “neutral tool” offered to third parties that courts have repeatedly held does
not transform an interactive computer service into a content creator. See Kimzey v. Yelp, 836
F.3d 1263, 1269–71 (9th Cir. 2016); Gentry v. eBay, Inc, 99 Cal.App.4th 816, 833–34 (2002).
And, to the extent Mr. Stossel instead means to plead that content created by Science Feedback is
attributable to Meta through an agency theory or otherwise, the complaint’s vague and
conclusory references to an “agency” relationship do not satisfy Mr. Stossel’s pleading burden.

        Second, the complaint does not plead a defamation claim against Meta. Because he is a
public figure, Mr. Stossel must plead specific facts to establish that Meta made the allegedly
defamatory statements with actual malice. Reader’s Digest Ass’n v. Superior Court, 37 Cal.3d
244, 256 (1984). Again, the complaint falls short. It offers only generalized allegations that
Meta “knew[] or should have known” that the allegedly defamatory statements were false.
Compl. ¶¶ 122, 131. Moreover, none of the complaint’s allegations show that the labels Meta
affixed to Mr. Stossel’s videos following Science Feedback’s fact checks were either false or
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defamatory. Stolz v. KSFM 102 FM, 30 Cal.App.4th 195, 202 (1994) (public figure plaintiffs
must show falsity); Cal. Civ. Code § 45 (defamatory words are those which “expose[] any person
to hatred, contempt, ridicule, or … which cause[] [the speaker] to be shunned or avoided”). In
any event, the complaint does not (and cannot) challenge that the fact-check labels are statements
of opinion, which cannot give rise to defamation liability. Standing Committee on Discipline of
U.S. Dist. Ct. v. Yagman, 55 F.3d 1430, 1439–40 (9th Cir. 1995).

        Third, because Mr. Stossel’s defamation claim arises from protected editorial conduct by
Facebook, it is subject to California’s anti-SLAPP statute. See Cal. Civ. Proc. Code § 425.16(b).
That statute permits Facebook to move to strike that claim from the complaint and, if successful,
to recover attorneys’ fees incurred for litigating that claim. Meta is considering filing such a
motion alongside its motion to dismiss. If Meta files an anti-SLAPP motion, it will seek all
appropriate fees.

       In short, the complaint does not state any viable defamation claim against Meta. Its
numerous deficiencies cannot be cured by amendment. To the extent you believe that we
misapprehend the law or your factual allegations, please explain the specific basis for your
disagreement. To the extent you believe there are amendments that could somehow cure these
defects, please plead them before Meta (and, importantly, the Court) are forced to undertake the
burden and expense of litigating a motion to dismiss. To the extent you intend to proceed with
your complaint as filed, please be on notice that Meta will vigorously defend itself.

                                             Sincerely,



                                             Sonal N. Mehta

cc:    Ari Holtzblatt
       Molly Jennings
